      Case 4:20-cv-03664-YGR Document 1010 Filed 10/09/23 Page 1 of 3




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16 Counsel for Defendant Google LLC, additional counsel listed on signature block below

17                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
     CHASOM BROWN, et al., individually and            Case No. 4:20-cv-03664-YGR-SVK
19   on behalf of themselves and all others
     similarly situated,                               DEFENDANT GOOGLE LLC’S NOTICE
20
                                                       OF WITHDRAWAL OF
                    Plaintiffs,                        ADMINISTRATIVE MOTION TO
21
            v.                                         RESCHEDULE PRE-TRIAL
22                                                     CONFERENCE. (DKT. NO. 1009)
     GOOGLE LLC,
23                                                     Judge: Hon. Yvonne Gonzalez Rogers
                    Defendant.                         Trial: January 29, 2024
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                                                                     Case No. 4:20-cv-03664-YGR-SVK
                                                  GOOGLE LLC’S NOTICE OF WITHDRAWAL OF MOTION
      Case 4:20-cv-03664-YGR Document 1010 Filed 10/09/23 Page 2 of 3




 1         PLEASE TAKE NOTICE that Defendant Google LLC withdraws the motion submitted as
 2 Dkt. No. 1009, entitled Google LLC’s Unopposed Administrative Motion to Reschedule Pre-Trial

 3 Conference (“Motion”). The Motion was inadvertently filed prematurely. Google intends this

 4 Notice of Withdrawal to be without prejudice to Google re-filing the Motion.

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     DATED: October 9, 2023                  Respectfully submitted,
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                                             QUINN EMANUEL URQUHART &
 7
                                             SULLIVAN, LLP
 8                                            By       /s/ Andrew H. Schapiro
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     Case 4:20-cv-03664-YGR Document 1010 Filed 10/09/23 Page 3 of 3




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                                           2                Case No. 4:20-cv-03664-YGR-SVK
              GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                                           MATERIAL SHOULD BE SEALED
